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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER
SEVEN OPPEGARD,
                                                                                      CV24-3702 FMO (RAOx)
                                                      PLAINTIFF(S)
                                    v.
                                                                            ORDER TO REASSIGN CASE UPON
BANK OF AMERICA, N.A. et al.                                                RECUSAL OF MAGISTRATE JUDGE
                                                                                   FOR DISCOVERY
                                                     DEFENDANT(S).                 PER GENERAL ORDER 05-07

        The undersigned Magistrate Judge to whom the above-entitled case was referred, being of the opinion
that he/she should not hear said case by reason of:
 financial conflict of interest with named party




HEREBY ORDERS the case reassigned by the Clerk in accordance with General Order 05-07.




      May 13, 2024
      Date                                                           d States
                                                                United S      M i
                                                                              Magistrate J d
                                                                                         Judge



                                              NOTICE TO COUNSEL FROM THE CLERK

         This case has been randomly referred to Magistrate Judge                            A. Joel Richlin                  .
On all documents subsequently filed in this case, please substitute the initials         AJRx      after the case number in
place of the initials of the prior judge, so that the case number will read     2:24-cv-03702-FMO (AJRx) . This is very
important because the documents are routed to the assigned judges by means of these initials




cc:     Previous Magistrate Judge


CV-110 (06/14)                           ORDER TO REASSIGN CASE UPON RECUSAL OF MAGISTRATE JUDGE
